       Case 1:24-cv-01381-PLF     Document 49        Filed 01/29/25     Page 1 of 44




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



HESAI TECHNOLOGY CO., LTD, et al.,

                                Plaintiffs,

v.                                                  Civ. Action No. 1:24-cv-01381-PLF

U.S. DEPARTMENT OF DEFENSE, et al.

                           Defendants.



     PLAINTIFFS’ COMBINED OPPOSITION TO DEFENDANTS’ CROSS-MOTION
            FOR SUMMARY JUDGMENT AND REPLY IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


                                          James E. Tysse
                                            D.C. Bar No. 978722
                                          Caroline L. Wolverton
                                            D.C. Bar No. 496433
                                          Lide E. Paterno
                                            D.C. Bar No. 166601
                                          AKIN GUMP STRAUSS HAUER & FELD LLP
                                          2001 K Street, N.W.
                                          Washington, D.C. 20006
                                          Telephone: (202) 887-4000
                                          Facsimile: (202) 887-4288
                                          jtysse@akingump.com

                                          Counsel to Plaintiffs Hesai Technology Co., Ltd.
                                          and Hesai Inc.
          Case 1:24-cv-01381-PLF                       Document 49                 Filed 01/29/25               Page 2 of 44




                                                   TABLE OF CONTENTS

INTRODUCTION ...........................................................................................................................1
ARGUMENT ...................................................................................................................................3
I.        THE DEPARTMENT EXCEEDED ITS AUTHORITY IN DESIGNATING
          HESAI WITHOUT ESTABLISHING THAT HESAI CONTRIBUTES “TO THE
          CHINESE DEFENSE INDUSTRIAL BASE” ....................................................................3
                     A.         The Amended Designation Fails To Substantiate The Critical
                                “Defense Industrial Base” Finding ..............................................................3
                     B.         The Department Cannot Salvage Its Failure To Make The
                                Required Finding .........................................................................................6
                                1.         The Department’s Late-Breaking Reliance On New
                                           Evidence Is Procedurally Improper And Unpersuasive ..................6
                                2.         The Department Cannot Delete The Statutory Requirement
                                           That Designated Entities Contribute “To The Chinese
                                           Defense Industrial Base” .................................................................8
II.       THE DEPARTMENT’S EXPLANATIONS ARE UNLAWFUL ....................................13
                     A.         The Department Erred In Failing To Consider Contradictory
                                Evidence .....................................................................................................13
                     B.         Defendants’ Invented Totality-Of-The-Circumstances Standard
                                Does Not Justify The Department’s Ad Hoc Approach ............................15
                     C.         Defendants’ Novel Constructions Are Unclear And Unreasonable ..........19
III.      THE DEPARTMENT’S FINDING THAT HESAI IS A “MILITARY-CIVIL
          FUSION CONTRIBUTOR” IS UNLAWFUL ..................................................................20
                     A.         The Finding That Hesai Is “Affiliated With” The MIIT Is
                                Unlawful ....................................................................................................20
                     B.         The Department’s Finding That Hesai Knowingly Received
                                Assistance Under China’s Military Industrial Planning Apparatus
                                Is Unlawful.................................................................................................26
                     C.         The Department’s Finding That Hesai Resides In Or Is Affiliated
                                With A Military-Civil Fusion Enterprise Zone Is Unlawful ......................29
                     D.         The Department’s Finding That Hesai Advertises On Military
                                Equipment Procurement Platforms Is Unlawful ........................................31
IV.       THE DEPARTMENT FAILED TO PROVIDE HESAI BASIC DUE PROCESS ...........32
V.        THE COURT SHOULD SET ASIDE THE DEPARTMENT’S UNLAWFUL
          DECISION AND VACATE HESAI’S DESIGNATION..................................................35
CONCLUSION ..............................................................................................................................36


                                                                      i
          Case 1:24-cv-01381-PLF                       Document 49                Filed 01/29/25              Page 3 of 44




                                                TABLE OF AUTHORITIES

CASES:

Abbott Lab’s v. Gardner,
   387 U.S. 136 (1967) .................................................................................................................34

Allina Health Servs. v. Sebelius,
    746 F.3d 1102 (D.C. Cir. 2014) ...............................................................................................35

Autodesk, Inc. v. ZWCAD Software Co.,
   No. 14-cv-1409-EJD, 2015 WL 1928184 (N.D. Cal. Mar. 27, 2015) .....................................22

Bridgeport Hosp. v. Becerra,
   108 F.4th 882 (D.C. Cir. 2024) ................................................................................................35

Butler v. Barnhart,
   353 F.3d 992 (D.C. Cir. 2004) .................................................................................................14

City of New Orleans v. SEC,
    969 F.2d 1163 (D.C. Cir. 1992) ...............................................................................................31

City of Port Isabel v. FERC,
    111 F.4th 1198 (D.C. Cir. 2024) ..............................................................................................36

Corner Post, Inc. v. Board of Govs.,
   603 U.S. 799 (2024) .................................................................................................................35

Davis v. Shalala,
   862 F. Supp. 1 (D.D.C. 1994) ..................................................................................................16

Department of Com. v. New York,
   588 U.S. 752 (2019) ...................................................................................................................7

Department of Homeland Sec. v. Regents of the Univ. of Cal.,
   591 U.S. 1 (2020) .......................................................................................................................7

Dickinson v. Zurko,
   527 U.S. 150 (1999) .................................................................................................................22

Dillmon v. National Transp. Safety Bd.,
    588 F.3d 1085 (D.C. Cir. 2009) ...................................................................................15, 17, 35

District Hosp. Partners, L.P. v. Burwell,
   786 F.3d 46 (D.C. Cir. 2015) ...................................................................................................31

District of Columbia v. U.S. Dep’t of Agric.,
   496 F. Supp. 3d 213 (D.D.C. 2020) .......................................................................................7, 8

                                                                     ii
          Case 1:24-cv-01381-PLF                      Document 49                Filed 01/29/25             Page 4 of 44




Duncan v. Walker,
   533 U.S. 167 (2001) ...............................................................................................................3, 9

Garnett v. RLX Tech. Inc.,
   632 F. Supp. 3d 574 (S.D.N.Y. 2022)......................................................................................22

Glen v. Trip Advisor LLC,
   529 F. Supp. 3d 316 (D. Del. 2021) .........................................................................................27

Haping v. 17 Educ. & Tech. Grp. Inc.,
   No. 22-cv-09843-LAK-SDA, 2023 WL 8716895 (S.D.N.Y. July 20, 2023) ..........................22

Killian v. United States,
    368 U.S. 231 (1961) .................................................................................................................20

LeMoyne-Owen Coll. v. N.L.R.B.,
   357 F.3d 55 (D.C. Cir. 2004) .......................................................................................16, 17, 18

Loper Bright Enters. v. Raimondo,
   603 U.S. 369 (2024) .................................................................................................................12

Luokung Tech. Corp. v. Department of Def.,
   538 F. Supp. 3d 174 (D.D.C. 2021) ................................................................................. passim

Monsanto Co. v. Geertson Seed Farms,
  561 U.S. 139 (2010) .................................................................................................................34

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29 (1983) .............................................................................................................17, 19

National Council of Resistance of Iran v. Department of State,
   251 F.3d 192 (D.C. Cir. 2001) .................................................................................................35

Nevada v. Department of Energy,
   457 F.3d 78 (D.C. Cir. 2006) ...................................................................................................15

New Life Evangelistic Ctr., Inc. v. Sebelius,
   672 F. Supp. 2d 61 (D.D.C. 2009) ...............................................................................14, 15, 35

PDK Labs. Inc. v. DEA,
  438 F.3d 1184 (D.C. Cir. 2006) .........................................................................................17, 18

People’s Mojahedin Org. of Iran v. U.S. Dep’t of State,
   613 F.3d 220 (D.C. Cir. 2010) ...........................................................................................33, 35

Ramaprakash v. FAA,
   346 F.3d 1121 (D.C. Cir. 2003) ...............................................................................................20



                                                                    iii
          Case 1:24-cv-01381-PLF                          Document 49                Filed 01/29/25               Page 5 of 44




Rehaif v. United States,
   588 U.S. 225 (2019) ...........................................................................................................27, 28

SEC v. Chenery Corp.,
   332 U.S. 194 (1947) .................................................................................................................19

SEC v. Chenery Corp.,
   318 U.S. 80 (1943) .....................................................................................................................7

Taylor v. Resolution Tr. Corp.,
   56 F.3d 1497 (D.C. Cir. 1995) ................................................................................................33
   66 F.3d 1226 (D.C. Cir. 1995) .................................................................................................33

TikTok Inc. v. Garland,
   122 F.4th 930 (D.C. Cir. 2024) ................................................................................................12

Transcontinental Gas Pipe Line Corp. v. FERC,
   907 F.2d 1211 (D.C. Cir. 1990) ...............................................................................................16

U.S. ex rel. Totten v. Bombardier Corp.,
   380 F.3d 488 (D.C. Cir. 2004) .............................................................................................9, 10

Van Loon v. Department of Treasury,
   122 F.4th 549 (5th Cir. 2024) ..................................................................................................12

Water Quality Ins. Syndicate v. United States,
   225 F. Supp. 3d 41 (D.D.C. 2016) ...........................................................................................13

Xiaomi Corp. v. Department of Def.,
   No. 21-cv-280, 2021 WL 950144 (D.D.C. Mar. 12, 2021) ...................................11, 12, 20, 22

STATUTES AND REGULATIONS:

5 U.S.C.
   § 706.........................................................................................................................................12
   § 706(2) ....................................................................................................................................35

31 U.S.C.
   § 3729(a)(2) ...............................................................................................................................9

42 U.S.C.
   § 18912.....................................................................................................................................33
   § 19235.....................................................................................................................................33

Further Consolidated Appropriations Act of 2024, Pub. L. No. 118-47, § 536, 138
   Stat. 460, 622 ...........................................................................................................................34




                                                                        iv
          Case 1:24-cv-01381-PLF                          Document 49                 Filed 01/29/25               Page 6 of 44




Pub. L. No. 118-31, 137 Stat. 136, 315 (2023)
   § 805.........................................................................................................................................34

William M. (Mac) Thornberry National Defense Authorization Act for Fiscal
   Year 2021, Pub. L. No. 116-283, 134 Stat. 3388
   § 1260H............................................................................................................................ passim
   § 1260H(b)(3) ..........................................................................................................................14
   § 1260H(d)(1)(B)(i)(I) .........................................................................................................4, 21
   § 1260H(d)(1)(B)(i)(II) ................................................................................................3, 4, 9, 13
   § 1260H(d)(2) ..................................................................................................................3, 9, 18
   § 1260H(d)(2)(A) .........................................................................................................27, 28, 29
   § 1260H(d)(2)(B) ...............................................................................................................19, 25
   § 1260H(d)(2)(E) .........................................................................................................10, 21, 31
   § 1260H(d)(2)(G) .....................................................................................................................31
   § 1260H(d)(3) ..........................................................................................................................21

15 C.F.R.
   Part 774, Supplement No. 1 .......................................................................................................5

89 Fed. Reg. 79,088 (Sept. 26, 2024) ............................................................................................26

Notice of Availability of Designation of Chinese Military Companies, 90 Fed.
   Reg. 1105 (Jan. 7, 2025) ....................................................................................................11, 18

OTHER AUTHORITIES:

Autoliv, Autoliv and Volvo Cars to team up with NVIDIA to develop advanced
   systems for self-driving cars (last visited Jan. 27, 2025) .........................................................12

Beijing Jingwei Hirain Techs. Co., Inc., Prospectus for Initial Public Offerings of
   Stock and Listing on the Science and Technology Innovation Board (last
   visited Jan. 27, 2025) ...............................................................................................................24

Brunner, Jordan & Emily Weinstein, Chinese Military-Civil Fusion and Section
   1260H: Congress Incorporates Defense Contributors, LAWFARE (May 4,
   2021) ..........................................................................................................................................3

Chongqing Municipal People’s Government, Introduction of Chongqing
   Economic and Technological Development Zone (Sept. 12, 2024), .......................................30

Continental, Autonomous Mobility (last visited Jan. 27, 2025) .....................................................11

Cubic Sensor & Instrument Co., Ltd., Prospectus for Initial Public Offerings of
   Stock and Listing on the Science and Technology Innovation Board (last
   visited Jan. 27, 2025) ...............................................................................................................24

Defense One, About Defense One (last visited Jan. 27, 2025) ........................................................6


                                                                         v
          Case 1:24-cv-01381-PLF                      Document 49                Filed 01/29/25             Page 7 of 44




GovExec, About (last visited Jan. 27, 2025) ....................................................................................6

Industrial zone propels Jiading’s innovative development, Official English
   Website of Jiading District, Shanghai (Jan. 6, 2021), ..............................................................30

Int’l Econ. & Tech. Coop. Ctr. of Ministry of Indus. & Info. Tech., Notice on
    Organizing the Application for Research Projects in the Field of International
    Advanced Manufacturing Clusters (June 11, 2024) ................................................................23

Ministry of Industry and Information Technology (MIIT) (工业和信息化部),
   Westlaw Practical Law UK Glossary, 1-552-9335(last visited Jan. 27, 2025)........................22

Nakashima, Ellen & Cate Cadell, Pentagon to blacklist China’s largest EV
   battery and tech firms, THE WASH. POST (Jan. 7, 2025) ..........................................................11

Nicastro, Luke A., CONG. RSCH. SERV., The U.S. Defense Industrial Base:
   Background and Issues for Congress (2024) .............................................................................3

Orbbec Inc., Prospectus for Initial Public Offerings of Stock and Listing on the
   Science and Technology Innovation Board (last visted Jan. 27, 2025) ...................................24

Oxford English Dictionary .............................................................................................................20

SCALIA, ANTONIN & BRYAN A. GARNER, READING LAW: THE INTERPRETATION OF
   LEGAL TEXTS (2012) ...............................................................................................................28

UNI-TREND TECH. (CHINA) CO., LTD., Prospectus for Initial Public
  Offerings of Stock and Listing on the Science and Technology Innovation
  Board (last visited Jan. 27, 2025) ............................................................................................25

U.S. Dep’t of Commerce, Bureau of Industry & Security, Dual Use Export
   Licenses (last visited Jan. 29, 2025)...........................................................................................5

Volvo Autonomous Solutions, Transforming The Movement Of Goods (last
   visited Jan. 27, 2025) ...............................................................................................................11




                                                                    vi
       Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 8 of 44




                                        INTRODUCTION

       Defendants’ response confirms that the Department of Defense has no evidence—and

made no finding—that the NASDAQ-traded Hesai, which supplies vehicle parts to many of the

largest passenger automobile manufacturers on the planet, is in any way connected to the Chinese

military. The Department completely fails to link Hesai, as Section 1260H requires, to the

“Chinese defense industrial base”—which the Department does not dispute comprises entities that

supply the Chinese military with materials, products, and services “for defense purposes.” The

Department’s failure is so complete that it not only abandons the lone evidence on which the

Amended Designation relied, but attempts an eleventh-hour injection of new evidence—and even

asks the Court to ignore the statutory requirement altogether.

       Defendants nevertheless insist that the Department is free to designate a company a

“military-civil fusion contributor”—and thus a “Chinese military company”—as long as its

products are “dual use,” i.e., if they “can have military applications.” But any product “can” have

military applications; the proper question under the statute is whether Hesai develops or supplies

its products—which the U.S. Department of Commerce deems suitable for export without legal

restriction—for defense purposes. Accepting Defendants’ open-ended theory would give the

Department carte blanche to label essentially any commercial entity in China, including hundreds

of American and international companies, a “military” company. Defendants do not even dispute

that fact; instead, they ask to be trusted to pick and choose which among the innumerable

commercial companies making “dual use” items deserve blacklisting.

       But the statute does not give the Department such uncabined discretion. Nor has the

Department shown that it deserves it. The Department’s process in this case has been anything

but rigorous. See ECF No. 47, at 7 n.6 (“Opp’n”) (“inadvertent administrative error”); id. at 23

n.10 (“Regrettably … clerical error”); id. at 29 n.13 (“inadvertently omits relevant text”); id. at 32
                                                  1
       Case 1:24-cv-01381-PLF             Document 49      Filed 01/29/25      Page 9 of 44




(“simply was not known to the Deputy Secretary of Defense at the time she rendered her

decision”); id. (“verification is practically infeasible”); id. at 39 (“any error would be harmless”);

id. at 42 (“harmless”); id. at 43 (“harmless”); id. at 46 (“harmless”); id. at 47 (“harmless”). The

Department forced Hesai to file this lawsuit just to discover the listing rationale and has forced

Hesai to chase a moving target ever since. And after its last-minute abandonment of the faulty

Original Designation, the Department even resorted to a second designation and a second (and

subsequently supplemented) administrative record, forcing the parties and the Court to restart from

scratch. Yet despite all the incentives the Department had to fix its original mistake, the

Department still couldn’t get it right.

       In today’s political environment, publicly traded global companies like Hesai suffer

extraordinary financial and reputational harm from the public opprobrium of being an accused

“military” company. Given the stakes, the least they should be able to expect from the U.S.

government is a fair process, in which facts are carefully evaluated to determine if they justify a

reasoned conclusion that a company either is owned or controlled by the Chinese military, or

contributes to the Chinese defense industrial base. What Hesai has received instead, however, is

a conclusion in search of a factual justification. It has faced not only an opaque and constantly

evolving rationale, but an evolving record as well—indeed, one that has continued to evolve even

after Hesai filed its summary judgment motion.

       That is not the way the government is supposed to operate. The Court should grant Hesai

summary judgment, vacate Hesai’s designation, and require the Department to finally provide

Hesai basic process before it ever attempts to add the company to the Section 1260H List again.




                                                  2
      Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 10 of 44




                                           ARGUMENT

I.     THE DEPARTMENT EXCEEDED ITS AUTHORITY IN DESIGNATING HESAI
       WITHOUT ESTABLISHING THAT HESAI CONTRIBUTES “TO THE CHINESE
       DEFENSE INDUSTRIAL BASE”

       A.      The Amended Designation Fails To Substantiate The Critical “Defense
               Industrial Base” Finding

       Hesai should be removed for a simple reason: the government failed to establish that Hesai

contributes “to the Chinese defense industrial base.” Section 1260H requires the Department to

find that a company is a “[i] military-civil fusion contributor [ii] to the Chinese defense industrial

base[.]”    § 1260H(d)(1)(B)(i)(II).      Congress specifically defined the first requirement.

§ 1260H(d)(2) (“The term ‘military-civil fusion contributor’ includes *** [.]”). But Congress did

not define the second part, i.e., what it means for a company to contribute “to the Chinese defense

industrial base.” Thus, under ordinary principles of statutory construction, that term means

something different from “military-civil fusion contributor.” See Duncan v. Walker, 533 U.S. 167,

174 (2001) (explaining “duty” to “give effect, if possible, to every clause and word of a statute”

so no term is rendered “superfluous” (citation omitted)). Moreover, the government does not

dispute that the “straightforward” (ECF No. 23, at 18) and “commonly understood meaning”

(Opp’n 33) of that term requires that an entity contribute “to the Chinese military,” i.e., that it

supplies the Chinese government or military “with materials, products, and services for defense

purposes.” ECF No. 42, at 20 (“Mot.”) (quoting Luke A. Nicastro, CONG. RSCH. SERV., The U.S.

Defense Industrial Base: Background and Issues for Congress (2024)).

       Determining that a company contributes to the “Chinese defense industrial base” thus

serves a critical purpose: it supplies the connection with the Chinese military that Section 1260H

requires. Section 1260H has a “particular[] concern[] about the Chinese military and its operations

in the United States, rather than the Chinese state broadly.” Jordan Brunner & Emily Weinstein,


                                                  3
      Case 1:24-cv-01381-PLF          Document 49       Filed 01/29/25     Page 11 of 44




Chinese Military-Civil Fusion and Section 1260H: Congress Incorporates Defense Contributors,

LAWFARE (May 4, 2021).1 Congress sensibly specified that a company could be considered a

“Chinese military company” only if the Department could first establish an actual Chinese

“military” connection—whether through ownership or control by the Chinese military,

§ 1260H(d)(1)(B)(i)(I), or through some other contribution to the defense industrial base,

§ 1260H(d)(1)(B)(i)(II). Were it otherwise, virtually any participant in the Chinese economy,

including prominent subsidiaries of American and international companies, could be deemed a

“Chinese military company” under Defendants’ capacious statutory interpretation (which they

contend requires only a vaguely defined “association” with China’s chief industrial regulator, see

infra, pp. 20-26).

       Defendants’ Amended Designation fails to establish the required connection. Although

the Department purported to find that Hesai contributed to the “Chinese defense industrial base”

because “LiDAR, including Hesai Group’s products, is recognized as a dual-use technology with

substantial applications in the civilian and military sectors,” NDAR11, Defendants do not contend

that the Amended Designation supports that conclusion. Indeed, Defendants have abandoned their

sole evidentiary support for that proposition—namely, an article from “AZoOptics.com,” an

internet content-farm and search-engine-optimization site, which was cited four times in the

Amended Designation, see NDAR11, but zero times in their opposition brief.

       Nor do Defendants argue that anything cited in the Amended Designation substantiates the

finding that “Hesai’s products” have “substantial applications” in “military sectors.” Opp’n 35

(emphasis added); see Luokung Tech. Corp. v. Department of Def., 538 F. Supp. 3d 174, 188-189




       1
          https://www.lawfaremedia.org/article/chinese-military-civil-fusion-and-section-1260h-
congress-incorporates-defense-contributors (last visited Jan. 27, 2025).

                                                4
      Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 12 of 44




(D.D.C. 2021) (evidence that autonomous technologies generally are “critical and used for modern

military purposes and operations” does not substantiate that a particular entity “involved in the

development” of such technology “design[s] or manufacture[s] any military or defense products”

(internal alterations and quotation marks omitted)).

       Not only does the Amended Designation fail to substantiate its findings, neither the

Amended Designation nor Defendants’ opposition offers any response whatsoever to the contrary

evidence in the administrative record. Most significantly, the record shows (and Defendants do

not dispute) that Hesai’s LiDAR products “have been designated as EAR99 by the U.S.

Department of Commerce, a category consisting of mostly consumer goods that do not require an

export license in most situations” (i.e., absent export to an embargoed country, to a prohibited end-

user, or for a prohibited end-use) because they are not designed for military use. NDAR390.2

Although “[d]ual use export licenses are required [by Commerce] in certain situations involving

national security, foreign policy, short-supply, nuclear non-proliferation, missile technology,

chemical and biological weapons, regional stability, crime control, or terrorist concerns,” such

licenses are not required for Hesai’s products.3

       Likewise, uncontradicted evidence shows that Hesai’s products are not covered by the

Chinese government’s list of sensitive or strategic technologies restricted from export, either.

NDAR1709. And the record shows that not only does Hesai not “supply its products for military



       2
          In contrast, certain advanced forms of LiDAR technology—such as those that are “space-
qualified” or “[d]esigned for carrying out airborne bathymetric littoral surveys”—are restricted by
Commerce. CCL 6A008.j, 15 C.F.R. Part 774, Supplement No. 1. That underscores the
arbitrariness of the Department’s finding that Hesai’s products, which are not so restricted, “have
substantial uses in the military sector.” Opp’n 43.
        3
          U.S. Department of Commerce, Bureau of Industry & Security, Dual Use Export
Licenses,      https://www.bis.doc.gov/index.php/all-articles/2-uncategorized/91-dual-use-export-
licenses (last visited Jan. 29, 2025).

                                                   5
      Case 1:24-cv-01381-PLF            Document 49      Filed 01/29/25      Page 13 of 44




use, it could not do so” because “all of Hesai’s existing products are strictly designed and

manufactured at civilian specifications for commercial and passenger vehicles, which are

significantly below battlefield standards for any country’s military” (e.g., “they have a lower

internal component temperature range, they have a lower vibration/shock endurance, they are not

radiation proof, etc.”)—making it “impossible to use Hesai’s products on the battlefield.” Id.

       The government’s brief (like the Amended Designation) offers no acknowledgement, let

alone a response, to any of this contrary evidence. Defendants’ total failure to substantiate the

critical factual finding that Hesai contributes “to the Chinese defense industrial base” means that

the Amended Designation is unlawful and should be vacated.

       B.      The Department Cannot Salvage Its Failure To Make The Required Finding

       Defendants try to salvage this fatal flaw in the Amended Designation in two ways: (1) by

relying on newly discovered evidence, and (2) by arguing that the phrase “Chinese defense

industrial base” has no legal effect.

             1.    The Department’s Late-Breaking Reliance On New Evidence Is Procedurally
                   Improper And Unpersuasive

       Defendants’ eleventh-hour reliance on new evidence is too late (and too little). Three

weeks after Hesai filed its summary judgment brief, and days before Defendants filed their cross-

motion and opposition, Defendants purported to discover an article the Department had apparently

“directly or indirectly” considered earlier (but neglected to cite or mention to anyone). ECF No.

45-2, at 2. The article is from a publication called “Defense One,” which advertises itself as “part

of GovExec,” “the leading sales and marketing intelligence company serving the public sector.”4

Defendants’ brief now depends exclusively on the new article (cited more than half a dozen times)


       4
          Defense One, About Defense One, https://www.defenseone.com/about/?oref=d1-nav (last
visited Jan. 27, 2025); GovExec, About, https://about.govexec.com/company/about/ (last visited
Jan. 27, 2025).

                                                 6
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25      Page 14 of 44




for every key finding regarding the supposed “dual-use” nature of LiDAR technology—even

though that article appeared nowhere in the Amended Designation, was not included in the

administrative record certified in November as “true, correct, and complete” following the re-

listing, ECF No. 40-2 at 2, and was not produced in time for Hesai to address it in its summary

judgment brief. Defendants also decline to offer any explanation for their late discovery. See ECF

No. 45 (vaguely claiming “administrative error”).

       Because the article was “not recounted or even referenced as justification” for the

Department’s re-listing decision, it is “not properly considered.” District of Columbia v. U.S.

Dep’t of Agric., 496 F. Supp. 3d 213, 240 (D.D.C. 2020). It is a “foundational principle of

administrative law” that judicial review of agency action is limited to “the grounds that the agency

invoked when it took the action.” Department of Homeland Sec. v. Regents of the Univ. of Cal.,

591 U.S. 1, 20 (2020) (citation omitted); see SEC v. Chenery Corp., 318 U.S. 80, 94 (1943) (“[T]he

orderly functioning of the process of review requires that the grounds upon which the

administrative agency acted be clearly disclosed and adequately sustained.”). And “a court is

ordinarily limited to evaluating the agency’s contemporaneous explanation in light of the existing

administrative record.” Department of Com. v. New York, 588 U.S. 752, 780 (2019) (emphases

added). Those sensible rules “ensur[e] that parties and the public can respond fully and in a timely

manner to an agency’s exercise of authority,” and help avoid the problem of “forcing both litigants

and courts to chase a moving target.” Regents, 591 U.S. at 23.

       Requiring an agency to defend its decision based on the evidence identified in the decision

also serves to allay any doubts about whether the evidence was, in fact, “directly or indirectly”

considered in a timely way. After all, if this article were truly the only support for the key

factfinding in question (as Defendants now represent), “the omission of any reference to [it] in the



                                                 7
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25      Page 15 of 44




[Amended Designation] is even more puzzling.” District of Columbia, 496 F. Supp. 3d at 240

n.18. Such questions are reasonable here, considering the mysterious circumstances surrounding

the Department’s fortuitous discovery of the article, which was published just 14 days before the

Amended Designation became final, and, unlike most other websites in the record, is noticeably

missing an access date. The Court should decline to consider it.

       In any event, the article—which focuses primarily on the computer systems (the “brain[s]”)

found in autonomous vehicles, not LiDAR products (the “eyes”), NDAR1714-1716—fails to

substantiate “Hesai LiDAR products’ dual-use applications.” Opp’n 37 n.15 (emphasis added). In

fact, the only relevant reference to Hesai is that the Department placed Hesai on the 1260H List

in January 2024. NDAR1715.5 The agency obviously cannot bootstrap its (now-abandoned)

Original Designation to justify Hesai’s re-listing. Even if “properly considered,” the new article

simply does not substantiate the necessary finding that Hesai contributes to the Chinese defense

industrial base by supplying “materials, products, and services for defense purposes.”

             2.    The Department Cannot Delete The Statutory Requirement That Designated
                   Entities Contribute “To The Chinese Defense Industrial Base”

       In a last-ditch effort, Defendants argue that “Congress did not require the Department to

establish that an entity must contribute to the Chinese defense industrial base,” Opp’n 33 (emphasis

added), stating that the Department “made such a finding *** merely [out of] an abundance of

caution,” Opp’n 35. In their view, the Department’s identification of Hesai as a “military-civil

fusion contributor” negates any need to separately determine that the company contributes “to the




       5
          The article also alleges that Hesai was “found to have connections to the China
Electronics Technology Group Corporation,” NDAR1715—but the administrative record already
explains why that allegation is severely misleading, NDAR383, NDAR392-393, and Defendants
do not rely on it.

                                                 8
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25      Page 16 of 44




Chinese defense industrial base,” § 1260H(d)(1)(B)(i)(II), which can be ignored as mere statutory

surplusage.6

       Fundamental principles of statutory interpretation prohibit the agency from redlining the

statute in that way. Because Congress defined only half the statutory phrase—i.e., Congress

supplied a definition of “military-civil fusion contributor” alone, § 1260H(d)(2), not the statutory

phrase “military-civil fusion contributor to the Chinese defense industrial base,” id.

§ 1260H(d)(1)(B)(i)(II) (emphasis added)—the court has a “duty” to give the additional phrase

some meaning. Duncan, 533 U.S. at 174. For example, in U.S. ex rel. Totten v. Bombardier

Corporation, the D.C. Circuit interpreted a provision within the False Claims Act that prohibited

making “a false record or statement to get a false or fraudulent claim paid or approved by the

Government[.]” 380 F.3d 488, 498 (D.C. Cir. 2004) (quoting 31 U.S.C. § 3729(a)(2)). While the

False Claims Act generally imposed liability for defrauding the government, the Court held that

the specific phrase “by the Government” must have independent meaning requiring that the

defendant defrauded the Government itself (and not just a third party handling federal funds). Id.

at 498-499. Any broader construction would have suffered from the “fatal flaw” of “yield[ing]

exactly the same meaning that would result if [the statute] did not contain the words ‘by the

Government’ at all.” Id. at 498.

       Defendants’ proffered interpretation of Section 1260H suffers from the same “fatal flaw.”

Under their view, Congress could have completely omitted the phrase “to the Chinese defense




       6
           Confusingly, pages earlier Defendants concede that the “structure of
1260H(d)(1)[B](i)(II) and (d)(2)” does “focus on various types of connections between the
relevant entity and the Chinese defense industrial base.” Opp’n 30. Defendants do not attempt to
reconcile these seemingly contradictory positions.

                                                 9
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25     Page 17 of 44




industrial base”—and the statute would have “exactly the same meaning[.]” Totten, 380 F.3d at

498. Defendants have no response.

       Defendants contend instead (Opp’n 33) that because the term “military-civil fusion” has

the word “military” in it, that term is “inextricably intertwined” with—and apparently the same

as—contributing “to the Chinese defense industrial base.” But Defendants cannot believe their

own words. If they did, they would have to conclude that each of the 12,000+ companies

supposedly “affiliated with” the MIIT through receipt of a “Little Giants” award (including those

selling textiles, watches, and animal husbandry services, see ECF No. 42, at 34) contributes to the

“Chinese defense industrial base,” too. But see Opp’n 16 (conceding that many such companies

“lack a military or defense connection”). Or, to take another example, Defendants would have to

conclude that any entity “residing in *** a military-civil fusion enterprise zone” (as the

Department broadly defines it, see infra, pp. 29-31), § 1260H(d)(2)(E)—including the Chinese

subsidiaries of Amazon Web Services and Volvo—also contribute “to the Chinse defense industrial

base.” Defendants protest that those entities are “not developing, producing, or supplying military

or dual-use products,” Opp’n 30—but that is the whole point. In Defendants’ own words,

“produc[ing] military supplies” (id. (emphasis added)) is the relevant “conduct requirement”

(Opp’n 33) that differentiates ordinary commercial companies from “Chinese military

companies”—and is precisely why Congress mandated the “Chinese defense industrial base”

finding.

       The government also argues that it should be excused from making the “Chinese defense

industrial base” finding based on the supposed “manifest difference” between LiDAR technology

and the “mere production of mundane” and “everyday” items capable of both civilian and military

use. Opp’n 34-35. But that just begs the question of which “dual use” items qualify as inherent



                                                10
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25     Page 18 of 44




contributions to the defense industrial base—and highlights the ad hoc nature of the Department’s

claimed authority to pick-and-choose on a case-by-case basis. As noted, the U.S. Department of

Commerce believes “most commercial items” are “dual use,” Mot. 21 (emphasis added)—thus

permitting Defendants to deem most commercial companies contributors to the “Chinese defense

industrial base.” The “lack of any limiting princip[le]” on their definition of what qualifies as a

“dual use” item “result[s] in a situation where any Chinese company involved in technology that

has alternative military uses”—“even U.S. technology companies with Chinese subsidiaries”—

“could be designated.” Xiaomi Corp. v. Department of Def., No. 21-cv-280, 2021 WL 950144, at

*8 (D.D.C. Mar. 12, 2021).

       Proving the point, days after describing batteries as prototypical “mundane items,” Opp’n

35, the Department added “China’s largest EV battery” manufacturer to the updated list of

“Chinese military compan[ies].” Ellen Nakashima & Cate Cadell, Pentagon to blacklist China’s

largest EV battery and tech firms, THE WASH. POST (Jan. 7, 2025);7 see Notice of Availability of

Designation of Chinese Military Companies, 90 Fed. Reg. 1105, 1106 (Jan. 7, 2025) (listing

Contemporary Amperex Technology Co., Ltd. (CATL)). Meanwhile, the companies Defendants

characterize as “not developing, producing, or supplying” products that “have a dual use,” Opp’n

30, in fact develop the very “autonomous vehicles” technology Defendants classify as “a valuable

asset for the Chinese military,” id. at 35-36; see, e.g., Volvo Autonomous Solutions, Transforming

The Movement Of Goods (discussing Volvo’s development of “autonomous vehicles” for “on- and

off-road applications”); 8 Continental, Autonomous Mobility (discussing Continental’s

development of “self-driving vehicles, equipped with advanced sensors, artificial intelligence, and


       7
                https://www.washingtonpost.com/national-security/2025/01/06/pentagon-blacklist-
china-technology-ev/ (last visited Jan. 27, 2025).
        8
          https://www.volvoautonomoussolutions.com/en-en/ (last visited Jan. 27, 2025).

                                                11
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25     Page 19 of 44




machine learning algorithms”); 9 Autoliv, Autoliv and Volvo Cars to team up with NVIDIA to

develop advanced systems for self-driving cars (discussing Autoliv’s and Volvo’s partnership to

“develop next generation self-driving car technologies”).10

       Finally, Defendants’ general appeals to deference (Opp’n 8-9) should be rejected. The

Department receives none in interpreting the statute. See Loper Bright Enters. v. Raimondo, 603

U.S. 369, 406-407 (2024) (APA prohibits “yielding to an agency the express responsibility, vested

in ‘the reviewing court,’ to ‘decide all relevant questions of law’ and ‘interpret *** statutory

provisions’” (ellipsis in original) (quoting 5 U.S.C. § 706)). That is especially so because this

dispute concerns “the scope of [the Department’s] own power—perhaps the occasion on which

abdication in favor of the agency is least appropriate.” Id. at 401; see Van Loon v. Department of

Treasury, 122 F.4th 549, 553, 563 (5th Cir. 2024) (explaining, in case involving an agency

determination of “threat to America’s national security,” that courts “determine the ‘best’ reading

of a statute”). And even in the government’s pre-Loper Bright authority (see Opp’n 8-9), the Court

did not permit the Department to cast aside or override the plain meaning of statutory language.

Luokung Tech. Corp., 538 F. Supp. 3d at 182 (rejecting Department’s erroneous interpretation

even while applying pre-Loper Bright deference related to issues of “national security” involving

predecessor to Section 1260H); Xiaomi Corp., 2021 WL 950144, at *4 (same).11


       9
                   https://www.continental.com/en/products-and-innovation/innovation/automated-
driving/ (last visited Jan. 27, 2025).
        10
            https://www.autoliv.com/press/autoliv-and-volvo-cars-team-nvidia-develop-advanced-
systems-self-driving-cars-1500169 (last visited Jan. 27, 2025).
        11
           Defendants’ citation of TikTok Inc. v. Garland, 122 F.4th 930 (D.C. Cir. 2024), is a red
herring. See Opp’n 34-35; see also Opp’n 13. Unlike the present question of statutory
construction—in which courts “interpret statutes, no matter the context, based on the traditional
tools of statutory construction” without deference to the government, Loper Bright, 603 U.S. at
403—the constitutional question in TikTok concerns whether a statute “serves a compelling
government interest,” for which the Court “afford[s] great weight to the Government’s evaluation
of the facts,” 122 F.4th at 952-953 (internal quotation marks omitted).

                                                12
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25     Page 20 of 44




                                               ***

       At bottom, Defendants cannot dispute that virtually every product “can have military

applications.” NDAR11 (emphasis added). If that were the test, the Department could designate

any Chinese manufacturer. But “[t]here is no indication that Congress intended to provide the

Department of Defense with this sort of unfettered discretion,” with “almost no limiting

princip[le].” Luokung Tech. Corp., 538 F. Supp. 3d at 187-188. Only Hesai’s reading of Section

1260H(d)(1)(B)(i)(II)—requiring the Department to find an actual contribution to the “Chinese

defense industrial base” because the entity supplies materials, products, or services for defense

purposes, see Mot. 20-22—properly cabins a designation authority that would otherwise sweep in

every company with operations in China, subject to Defendants’ “unfettered discretion.” Because

the Department failed to establish that Hesai contributes to the Chinese defense industrial base,

the Court should grant summary judgment to Hesai and vacate without further inquiry.

II.    THE DEPARTMENT’S EXPLANATIONS ARE UNLAWFUL

       Beyond the Department’s actions in excess of its authority, the agency independently

erred in various respects.

       A.      The Department Erred In Failing To Consider Contradictory Evidence

       All parties agree that the Department was required to “consider Plaintiff’s submissions.”

Opp’n 42; see, e.g., id. at 40 (acknowledging agency need “consider the evidence” (citation

omitted)). Despite nitpicking factual distinctions in Hesai’s cases, id. at 40-42, Defendants

ultimately concede that the APA does not permit the Department either to “‘ignore[] factual

matters’ []or ‘fail[] to respond adequately’ to contrary arguments,” id. at 41 (quoting Water

Quality Ins. Syndicate v. United States, 225 F. Supp. 3d 41, 68 (D.D.C. 2016)). In fact, Defendants

acknowledge that this administrative-law principle applies with particular force where “Congress

specifically required” the agency to consider particular evidence “in reaching its decision,” Opp’n

                                                13
      Case 1:24-cv-01381-PLF            Document 49        Filed 01/29/25    Page 21 of 44




41—as is the case here, where the statute mandates that the Department’s “additions or deletions”

to the 1260H List must be “based on the latest information available,” § 1260H(b)(3); see also

ECF No. 25, at 4-5 n.1 (Court’s order explaining Department was “obligated to consider [Hesai’s]

documents when evaluating Hesai’s [removal] request”); contra Opp’n 41 (arguing incorrectly

that “Plaintiffs do not raise claims that DoD failed to consider some factor that Congress

specifically required it to consider in reaching its decision”).

       The Department obviously failed to meet that standard. With respect to the April 2024

letter, Defendants point only to an email stating—months before the re-listing—that “the

Department would ‘consider *** all the information provided[.]’” Opp’n 40 (ellipsis in original)

(emphasis added) (quoting NDAR1711). That is far from “specifically stat[ing] that it considered

these materials when making its determination” months later. Id. (emphasis added); see Butler v.

Barnhart, 353 F.3d 992, 1002 (D.C. Cir. 2004) (agency must indicate that “evidence was rejected

rather than simply ignored”). In fact, the Department did not even include the April 2024 letter in

the administrative record until weeks after Hesai filed its motion pointing out that very omission.

See ECF No. 45. And although the Amended Designation at least briefly acknowledges the March

2024 letter and sworn declaration by Hesai’s CEO, NDAR10, that barebones sentence hardly

“examine[s],” much less “articulate[s] a satisfactory explanation” concerning, the evidence and

arguments that run counter to the Department’s findings. New Life Evangelistic Ctr., Inc. v.

Sebelius, 672 F. Supp. 2d 61, 73-74 (D.D.C. 2009) (citation omitted) (holding that agency’s

decision “must be vacated” because, inter alia, it credited some record materials “without

addressing the additional, contradictory data included in the organization’s application”).

       Tellingly, Defendants pivot swiftly to arguing that the Department’s error was “harmless.”

Opp’n 39, 42, 43, 46, 47. But they do not cite a single case applying the APA’s prejudicial error



                                                  14
      Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 22 of 44




standard to an agency’s refusal to grapple with contradictory evidence and arguments in a

substantive adjudication. One of Defendants’ cases concerns an agency’s failure to “comply

precisely with NEPA procedures” that the agency had already corrected through a rulemaking “in

the Federal Register.” Nevada v. Department of Energy, 457 F.3d 78, 90-91 (D.C. Cir. 2006). In

the other case, the D.C. Circuit rejected the government’s plea not to vacate an order because “the

Board’s decision is supported by substantial evidence.” Dillmon v. National Transp. Safety Bd.,

588 F.3d 1085, 1092 (D.C. Cir. 2009). Echoing Defendants’ harmlessness argument here, the

government’s contention in Dillmon was rejected as a “thinly-veiled attempt to rehabilitate the

Board’s decision by suggesting it reached the right destination, even though it chose the wrong

path to get there.” Id. So too here: “Although [the Department] now proffers an explanation why

this additional information does not affect its decision,” because the Amended Designation “is

entirely silent on this point,” “vacatur of the decision” is warranted. New Life Evangelistic Ctr.,

Inc., 672 F. Supp. 2d at 75.12

       B.      Defendants’ Invented Totality-Of-The-Circumstances Standard Does Not
               Justify The Department’s Ad Hoc Approach

       As to the materials the Amended Designation actually addresses, at various points

Defendants implicitly acknowledge the independent weakness of each disparate piece of evidence

relied on, but argue that the individual record deficiencies are “immaterial” because “it is the




       12
           In any event, as explained throughout this brief, litigation counsel’s attempts to minimize
Hesai’s submissions as “immaterial” (Opp’n 43) fall flat. At best, the Department’s post hoc
responses merely speculate that “the People’s Liberation Army of China uses LiDAR” generally
(without any connection to Hesai or its technology), or that “the PRC Government could assist or
require Hesai to make business decisions,” “could require Hesai to make business decisions that
benefit the PRC militarily,” or “could in the future assist Hesai to make decisions.” Opp’n 42-44
(emphases added). But that is “not the correct standard.” Luokung Tech. Corp., 538 F. Supp. 3d
at 189 (“‘potential affiliation’ is not the correct standard” when statute requires “an actual
affiliation”).

                                                 15
      Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 23 of 44




combined weight of the totality of the record evidence, rather than any single item, that supports

DoD’s factual determination.” Opp’n 19; see, e.g., id. (determination “not based on this single

piece of evidence, taken in isolation”); id. at 15-16 (cited fact “is not a single factor to be

considered in isolation”); id. at 37 (“the Department is free to apply a totality-of-the-circumstances

standard”). But Defendants’ “totality-of-the-circumstances standard” (Opp’n 30) appears nowhere

in the Department’s Amended Designation, which assesses each Section 1260H factor

independently. NDAR11-17; e.g., NDAR13 (“Hesai Group is a military-civil fusion contributor

to the Chinese defense industrial base *** because it is affiliated with the MIIT.”); NDAR15 (same

for residence in “military-civil fusion enterprise zones”).

       Even assuming the Defendants’ “know-it-when-I-see-it” approach complies with the

statute, it plainly deprives the Court of any way to evaluate the reasonableness of the Department’s

decision. See Transcontinental Gas Pipe Line Corp. v. FERC, 907 F.2d 1211, 1214 (D.C. Cir.

1990) (“Before [reviewing court] can accord *** factors any weight, the [agency] must explain,

based on the record evidence, how they influence the analysis[.]”); Davis v. Shalala, 862 F. Supp.

1, 4, 5 (D.D.C. 1994) (decision fails “substantial evidence” standard where decisionmaker does

not “explain sufficiently the weight he has given to particular items of probative evidence”). It

also deprives regulated entities of any sense of the circumstances that are the agency’s actual focus

in making designations. See LeMoyne-Owen Coll. v. N.L.R.B., 357 F.3d 55, 61 (D.C. Cir. 2004)

(“[W]hen an agency is applying a multi-factor test through case-by-case adjudication,” the

requirement that the agency explain “which factors are significant and which less so, and why,” is

“particularly acute” to allow for “predictability and intelligibility[.]”). Unlike in Defendants’ lead

case, where the agency acknowledged the “relative significance of the evidence before it” by

“explain[ing]” in its decision under review that a particular piece of evidence “was by itself



                                                 16
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25      Page 24 of 44




sufficient to justify” the agency’s conclusion, PDK Labs. Inc. v. DEA, 438 F.3d 1184, 1194 (D.C.

Cir. 2006), here the Court and Hesai are left guessing as to the relative significance of each

statutory factor and each piece of cited evidence.

       To be clear, the problem is not (only) that the agency failed to “specify in advance” the

standard that would govern the evidence it credited, Opp’n 38 (emphasis added)—the Amended

Designation itself, which simply lists various factual findings based on internet searches, fails to

articulate the standards that guide the agency’s evaluation of the record. That is the opposite of a

“thorough, careful, and consistent application of a multi-factor test” that “allow[s] relevant

distinctions between different factual configurations to emerge.” PDK Labs Inc., 438 F.3d at 1194

(quoting LeMoyne-Owen Coll., 357 F.3d at 61).

       Moreover, the Department’s failure even to acknowledge, let alone explain, discrepancies

between the Amended Designation and the Original Designation, further exemplifies the

Department’s inconsistent application of the statutory factors. See Mot. 16-17. Defendants’ only

response is that this case does not concern “a broad change in overall agency policy.” Opp’n 44.

But as Defendants’ own case makes clear, the requirement that the agency “supply a reasoned

analysis” for why it is “changing its course” applies to “rulings and practices even in an

adjudicatory setting.” Dillmon, 588 F.3d at 1089 (citations omitted); see Motor Vehicle Mfrs.

Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (agency action is

arbitrary and capricious if it “fail[s] to consider an important aspect of the problem”). Especially

because most of the evidence the Department relied on predates the Original Designation, the

Amended Designation’s omission of any explanation for the Department’s flip-flopping makes it




                                                17
      Case 1:24-cv-01381-PLF           Document 49      Filed 01/29/25     Page 25 of 44




impossible to know whether the changes were motivated by discovery of new evidence, lobbying

or political pressure, or some other factor.13

       Ultimately, the Department’s unexplained new decision and artificial line-drawing risk

“becom[ing] simply a cloak for agency whim—or worse.” PDK Labs Inc., 438 F.3d at 1194

(quoting LeMoyne-Owen Coll., 357 F.3d at 61). In fact, Defendants marshal their totality-of-the-

circumstances standard not only to designate Hesai but also to brush aside as “irrelevant” the

Department’s failures to account for other (unlisted) entities that present the same circumstances

as Hesai under the Section 1260H factors considered. See, e.g., Opp’n 16 (“irrelevant” that

thousands of unlisted companies are in “Little Giants” program because of unspecified “datapoints

that, taken together,” indicate “lack [of] military or defense connection” under other unstated

statutory factors); id. at 19 (“immaterial that other organizations” participate in same industry

partnerships because agency depends on “combined weight of the totality of the record evidence,

rather than any single item”).        Whether those unlisted entities qualify under the same

“combination” of factors should not matter if each of the four cited rationales under section

1260H(d)(2) “alone [is] enough to place Hesai on the 1260H List,” Opp’n 1—i.e., the construction

Defendants advance on the first page of their brief but never actually apply to the record.

Defendants do not even deny that the breadth of the discretion they claim would allow the

Department to list every Chinese company, but rather only note that (apparently as a matter of

executive grace) it has chosen to blacklist only some. See, e.g., Opp’n 14-15 (noting that the

Department added only 45 companies in 2023); cf. Notice of Availability of Designation of Chinese


       13
          In August 2024, Hesai filed a Freedom of Information Act request with the Department
seeking non-privileged, non-deliberative third-party communications between Hesai’s competitors
and the Department. To date, the Department has refused to produce a single document or even
to provide a timeline for production, citing “equities” from other component offices necessitating
further review.

                                                 18
      Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 26 of 44




Military Companies, 90 Fed. Reg. 1105 (Jan. 7, 2025) (listing 134 companies). That is cold

comfort to the companies subject to the Department’s caprice.

       C.      Defendants’ Novel Constructions Are Unclear And Unreasonable

       The Department’s failure to articulate its guiding standards infects not only its weighing of

the evidence but also its construction of the substantive terms it applied to that evidence. See Mot.

17-19. Throughout their brief, Defendants offer new definitions of various terms that are critical

to Hesai’s listing, yet those made-for-litigation interpretations appear nowhere in the Amended

Designation itself. Such “post hoc rationalizations” by counsel cannot justify the agency’s

decision. State Farm, 463 U.S. at 50 (citing SEC v. Chenery Corp., 332 U.S. 194, 196 (1947)).

       Even if Defendants could now fill the gaps in the Department’s legal reasoning, the novel

standards offered are unclear and unreasonable.         For example, Defendants offer a fuzzy

construction of “affiliated with” that appears to require “a sufficiently common purpose” or set of

“shared characteristics.” Opp’n 15, 21 (construing § 1260H(d)(2)(B)). But Defendants never

explain what qualifies as a “sufficient[]” purpose or “shared characteristics” with MIIT, other than

to note that their definition encompasses a “broad swath of entities[.]” Id. at 12. Even worse,

Defendants cannot even commit to that single definition, asserting elsewhere that an affiliation can

be shown by a “close association with MIIT.” Id. at 15; see also id. at 18, 20 (“closely associated

with MIIT in a dependent or subordinate position”). Which is it—a close connection, a common

purpose, a set of shared characteristics—or all three? The Department does not commit.

       The result is that, as with the boundless “dual use” standard that governs which entities

contribute to the Chinese defense industrial base, Defendants’ new construction of “affiliated with”

(among other key terms such as “Chinese military industrial planning apparatus” and “military-

civil fusion enterprise zone”) exemplifies the sort of “ad hocery” underlying the “prohibition of



                                                 19
       Case 1:24-cv-01381-PLF          Document 49       Filed 01/29/25      Page 27 of 44




arbitrary or capricious agency action.” Ramaprakash v. FAA, 346 F.3d 1121, 1130 (D.C. Cir.

2003) (citation omitted); see infra, pp. 20-32.

III.   THE DEPARTMENT’S FINDING THAT HESAI IS A “MILITARY-CIVIL FUSION
       CONTRIBUTOR” IS UNLAWFUL

       A.      The Finding That Hesai Is “Affiliated With” The MIIT Is Unlawful

       1. Defendants point to zero on-point authority for their “broad definition” of “affiliated

with” that “refers to associations ‘on the basis of a common purpose or of shared characteristics.’”

Opp’n 10 (quoting Oxford English Dictionary). That definition undisputedly sweeps far beyond

the effective-control meaning that is supported by the overwhelming weight of caselaw involving

relationships between entities (including in the entity-designation context and from this Court

specifically), analogous statutory examples (including in the same statute containing Section

1260H), and the Department’s own regulations. Mot. 24-26. Plainly, the “context-dependent

definition” (Opp’n 10) that is applicable here should come not from a case about jury instructions

outlining an individual’s criminal liability for “falsely swearing” during the Red Scare, Killian v.

United States, 368 U.S. 231, 254 (1961), but from the on-point, entity-related, and defense-specific

authorities discussed in Hesai’s motion.14

       None of the various reasons Defendants offer for straying from that “plain and common

meaning” of “affiliated with,” Xiaomi Corp., 2021 WL 950144, at *6 (citation omitted), is



       14
          Defendants’ primary case supports Hesai. The jury instructions the Supreme Court
approved in Killian require more than sharing “a common purpose,” “a dependency,” or “a set of
characteristics” to establish an affiliation. Opp’n 11; see Killian, 368 U.S. at 254 n.13 (“A person
may be found to be ‘affiliated’ with an organization *** when there is shown to be a close working
alliance or association between him and the organization, together with a mutual understanding
or recognition that the organization can rely and depend upon him to cooperate with it, and to
work for its benefit, for an indefinite future period upon a fairly permanent basis.” (emphasis
added)). Needless to say, the Department did not establish a “mutual understanding” that the MIIT
could “depend” on Hesai to “work for its benefit, for an indefinite future”—or, put another way,
that the MIIT “effectively controlled” Hesai.

                                                  20
      Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 28 of 44




persuasive. For example, Defendants argue that, absent a broad definition, Hesai could “seek to

hide” connections to MIIT. Opp’n 10-11. But that accusation appears nowhere in the Amended

Designation (or the Original Designation), and there is not a shred of evidence to support the covert

activity Defendants suggest. Defendants also argue that the statutory phrase is “affiliated with,”

not “affiliate”—but this Court has rightly rejected that very argument. See Luokung Tech. Corp.,

538 F. Supp. 3d at 184-185 (noting that “‘affiliate’ and ‘affiliated with’ are simply ‘different forms

of the same word, and the substantive meaning of the terms is the same,” and that “Defendants cite

no support for their assertion that a broader reading due to the adjectival form is required”). And

Defendants’ argument about enterprise zones in Section 1260H(d)(2)(E), see Opp’n 13, discounts

that just as a term (such as “the Pentagon” or “the United States”) may refer to both a geographic

area and a political entity, so too can the term “enterprise zone” refer to both a geographic area

and its governing authorities, see also ECF No. 26, at 8-9 (responding to same arguments).

       Accepting the Department’s logic would also lead to absurd results. See Mot. 27-28. It

would make it far easier for an entity to qualify as a “Chinese military company” based on its

associations with the MIIT (a sprawling executive branch agency) than with the People’s

Liberation Army (i.e., China’s “land, naval, and air military services”). § 1260H(d)(1)(B)(i)(I),

(3). That is, under Defendants’ construction, having a “close association with MIIT” (Opp’n 15)

makes a company a “military-civil fusion contributor,” while the same “close association” with

the Chinese military itself does not. Congress could not have intended that incongruous result.

       Indeed, Defendants do not dispute that the “vastly wider reach” of their definition would

capture the “broad swath of entities that engage or partner with MIIT” by virtue of being subject

to its wide regulatory jurisdiction. Opp’n 12-13. That universe would encompass virtually every




                                                 21
      Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 29 of 44




technology company (and most non-technology companies) operating in China.15 And because

Hesai’s “behavior is no different than American technology companies” with a Chinese footprint,

Luokung Tech. Corp., 538 F. Supp. 3d at 189-190, the Department’s “sweeping inference” would

capture “even U.S. technology companies with Chinese subsidiaries[,]” such as Apple, as well as

non-technology companies, such as Pepsi, Xiaomi Corp., 2021 WL 950144, at *8. The fact that

the Department has actually designated only “a tiny fraction” of companies (Opp’n 14) just

underscores Defendants’ claim of total discretion. See Xiaomi Corp., 2021 WL 950144, at *4

(when agency explanation is “‘so implausible that it could not be ascribed to a difference in view

or the product of agency expertise,’ courts must cast the action aside as arbitrary and capricious”

(quoting Dickinson v. Zurko, 527 U.S. 150, 164 (1999))).

       2. Even if the Department had free rein to adopt its concededly “broad definition,” Opp’n

10, the record lacks substantial evidence that Hesai “has a common purpose and shared

characteristics with MIIT” or is otherwise “closely associated” with it, id. at 15, 18.

       First, Defendants’ arguments concerning “research programs and projects” (Opp’n 16)

underscore the indirect connections on which the Department relies. Defendants continue to lean



       15
           Defendants do not dispute that the MIIT’s regulatory jurisdiction spans countless
industries that lack any connection to the military. See Ministry of Industry and Information
Technology (MIIT) (工 业和信 息 化部 ), Westlaw Practical Law UK Glossary, 1-552-9335,
https://next.westlaw.com/Document/Id45b3a3047f311e498db8b09b4f043e0/View/FullText.html
?originationContext=document&transitionType=DocumentItem&ppcid=a7b4d49bce054661a79f
906bebb9a910&contextData=(sc.Default) (MIIT is “[a] central government ministry sitting under
the State Council to oversee areas including the internet, telecommunications, broadcasting, postal
delivery, computer and other electronic hardware and software management.”) (last visited Jan.
27, 2025); see also, e.g., Garnett v. RLX Tech. Inc., 632 F. Supp. 3d 574, 591 (S.D.N.Y. 2022)
(MIIT regulation of “e-cigarettes and other new tobacco products”); Haping v. 17 Educ. & Tech.
Grp. Inc., No. 22-cv-09843-LAK-SDA, 2023 WL 8716895, at *6 (S.D.N.Y. July 20, 2023) (MIIT
regulation of “After-school Tutoring and Educational Apps”); Autodesk, Inc. v. ZWCAD Software
Co., No. 14-cv-1409-EJD, 2015 WL 1928184, at *5 (N.D. Cal. Mar. 27, 2015) (MIIT issuance of
“nonbinding data privacy guidelines”).

                                                 22
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25      Page 30 of 44




on Hesai’s purported links to third parties—a university and an industry-testing facility used by

dozens and dozens of global companies such as BMW—that Defendants say in turn received

“support[]” or “approv[al]” from MIIT (unrelated to Hesai). Id. at 16-17. But Defendants make

no attempt to refute the attenuated nature of the inferences the Department’s finding requires, see

Mot. 30; explain how those second- and third-order connections establish “common” purposes or

characteristics with MIIT, Opp’n 16; or reconcile that analysis with other provisions of the statute

where Congress expressly contemplated indirect relationships, see Mot. 29-30.              Instead,

Defendants fault Hesai for “misread[ing] the statute” to “require[] evidence of ‘research

partnerships and projects with MIIT[.]’” Opp’n 17. But that quotation comes directly from the

Amended Designation itself. And Defendants themselves elsewhere acknowledge that entities are

listed when “the Department’s analysis shows a close association with MIIT[.]” Id. at 15 (emphasis

added).16

       The Department’s failure to point to a “close association” between Hesai and MIIT is

presumably why Defendants re-injected the finding that “Hesai’s own prospectus *** identified

four programs and projects in which it participates that MIIT administers.” Opp’n 15-17. But

those purported “programs and projects,” which were the primary bases for the Original

Designation, are missing from the Amended Designation’s “affiliated with” explanation (as Hesai




       16
           Public sources readily show that the MIIT does engage in research projects directly with
entities under circumstances that are not present here. See, e.g., Int’l Econ. & Tech. Coop. Ctr. of
Ministry of Indus. & Info. Tech., Notice on Organizing the Application for Research Projects in
the Field of International Advanced Manufacturing Clusters (June 11, 2024), https://miit-
iie.com/h-nd-407.html (translated into English at https://miit--iie-com.translate.goog/h-nd-
407.html?_x_tr_sl=auto&_x_tr_tl=en&_x_tr_hl=en-US&_x_tr_pto=wapp) (last visited Jan. 27,
2025) (example of “research projects” MIIT engages in with entities that affirmatively submit
“application for research” to be conducted pursuant to research “requirements” set by MIIT, under
condition that “intellectual property rights of the final research results of the project belong to”
MIIT).

                                                23
      Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 31 of 44




pointed out, see Mot. 17, 24, 29). So were those part of the Department’s justification or not?

Hesai is again forced to aim at a moving target.

       Even if the (abandoned) Original Designation’s findings remain relevant, as Hesai

explained previously (and the Department ignores), see ECF No. 17, at 31-33; ECF No. 26, at 11-

12, these are not “programs” in which Hesai could “participate”; they are expressly described as

government “policies” and “regulations” in the very document on which the Department relies,

NDAR981 (prospectus describing the “[m]ajor laws, regulations, and policies in the industry and

their impact on the issuer’s business development”); see also ECF No. 17-1, at Ex. A (certified

translation). Those statements are obviously meant to explain to investors the “[n]ational policies,”

from a variety of government entities, that relate to the LiDAR industry. NDAR981; see

NDAR984 (summarizing that “governments at all levels have issued a number of policies to clarify

the development of vehicle-mounted sensor technology”).            Notably, such disclosures were

mandated by the securities regulations that were in force at the time Hesai issued its prospectus—

which is presumably why materially similar language about identical MIIT policies can be found

in the prospectuses of other (non-Section 1260H) companies with a global footprint in the

manufacturing industry. 17 The sworn declaration by Hesai’s CEO made that point clear, see

NDAR392, but the Department ignored it.



       17
           See, e.g., Beijing Jingwei Hirain Techs. Co., Inc., Prospectus for Initial Public Offerings
of Stock and Listing on the Science and Technology Innovation Board 177-79,
https://static.sse.com.cn/stock/information/c/202106/3eaf3a5774c74e0f9a2d29881058702f.pdf
(discussing Internet of Vehicles and Medium- and Long-Term Development Plan for the
Automobile Industry) (last visited Jan. 27, 2025); Orbbec Inc., Prospectus for Initial Public
Offerings of Stock and Listing on the Science and Technology Innovation Board 177,
https://static.sse.com.cn/stock/information/c/202106/92c6353841ac4cc1beb731ecb1b2b1f9.pdf
(last visited Jan. 27, 2025) (discussing Internet of Vehicles and Three-Year Action Guide for the
Smart Sensor Industry); Cubic Sensor & Instrument Co., Ltd., Prospectus for Initial Public
Offerings of Stock and Listing on the Science and Technology Innovation Board 120,


                                                   24
      Case 1:24-cv-01381-PLF              Document 49        Filed 01/29/25      Page 32 of 44




          Second, Defendants’ acknowledgement that the “National Automotive Standardization

[Technical] Committee” (“NASTC”) is an “industry partnership,” Opp’n 18, reinforces that any

shared purpose or characteristics reflected by the NASTC are among industry participants, not

with the MIIT. While the MIIT might have established the NASTC, the NASTC was the entity

that organized conferences or standard-drafting efforts that Hesai occasionally participated in.

Nothing in the record establishes that Hesai is “closely associated with MIIT” through such

indirect, third-order interactions. Id. (emphasis added). Indeed, Hesai is not even a member of

the NASTC itself (as Defendants concede, see id. at 19). Moreover, Defendants’ attempt to

categorize Hesai’s minor involvement in an industry conference and a standard drafting process

as evidence of a “‘research partnership’ and a ‘project’ of the MIIT” is also unsupported. Id.

(emphasis added) (quoting § 1260H(d)(2)(B)). The record evidences that the NASTC is concerned

with commonplace international technical standard-setting, not “research.” Tellingly, instead of

disputing that scores of foreign governments and global companies (including General Motors and

Toyota) have the exact same “relationship” with MIIT, Defendants argue only that it is

“immaterial” because of “other factors that supported DoD’s factual determination.” Id. (emphasis

added).

          Third, the fact that Hesai received a regulatory license is plainly insufficient to establish a

common purpose or a shared set of characteristics between Hesai and the MIIT. Defendants cite

nothing to support their claim that receipt of a generic, technical, non-military license is evidence



https://www.sse.com.cn/disclosure/listedinfo/bulletin/star/c/688665_20210204_1.pdf (last visited
Jan. 27, 2025) (discussing Three-Year Action Guide for the Smart Sensor Industry); UNI-TREND
TECH. (CHINA) CO., LTD., Prospectus for Initial Public Offerings of Stock and Listing on the
Science             and         Technology             Innovation         Board          124–125,
https://static.sse.com.cn/disclosure/listedinfo/bulletin/star/c/688628_20210126_2.pdf (last visited
Jan. 27, 2025) (discussing Action Plan to Accelerate the Development of Sensors and Intelligent
Instruments).

                                                    25
      Case 1:24-cv-01381-PLF             Document 49     Filed 01/29/25      Page 33 of 44




of an “affiliation” with the MIIT. The uncontested fact that Apple, like countless other global

companies, received the exact same license for its iPhones (see Mot. 33), reveals the absurdity of

that sweeping assertion.18

       Finally, the Department largely retreats from defending its decision on the basis of Hesai’s

“Little Giants” designation, asserting only that the Chinese government’s support for the

technology industry should be thrown into the soup of “several datapoints” that the Department

has identified. Opp’n 15-16. The hundreds of pages listing “Little Giants,” from mundane fields

like the animal husbandry and wristwatch industries, undermine any suggestion that the program

focuses on “strategically important sectors” such as “the technology industry,” let alone that it

encompasses only those companies sharing a close association or common purpose with the MIIT.

Id. at 15 (quoting NDAR1428-1429); see ECF No. 17, at 39-40. Defendants’ continued reliance

on that commonplace award, given to over 12,000 entities (and counting), further undermines the

rigor of the Department’s factfinding.

       B.      The Department’s Finding That Hesai Knowingly Received Assistance Under
               China’s Military Industrial Planning Apparatus Is Unlawful

       Defendants’ attempt to bolster the Department’s finding that Hesai “knowingly received

science and technology-related assistance from the Government of China” that was “initiated



       18
           Defendants’ suggestion that the cited “license approved products that serve as the core
of the commercial services that Hesai provides,” Opp’n 21, underscores their confusion about the
facts. As the record demonstrates, this “radio transmission” license was for “gas sensor products,”
NDAR1069, a minor line of Hesai’s business that is fully distinct from the LiDAR business that
forms the purported basis for Hesai’s listing, see NDAR10, 18-19. Unlike Hesai’s gas sensor
products, Hesai’s LiDAR products do not require this transmission license because Hesai’s LiDAR
products do not and cannot “store or wirelessly transmit any images or information”—a fact clearly
explained in the sworn declaration from Hesai’s CEO and third-party certifications that the
Department ignored. NDAR389; see NDAR373 (independent testing-and-inspection authorities
have certified that Hesai’s products do not wirelessly transmit data); see also 89 Fed. Reg. 79,088,
79,092 (Sept. 26, 2024) (“technical analysis” by Commerce “found that LiDAR generally lacks
the ability to transmit from the vehicle”).

                                                26
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25      Page 34 of 44




under China’s military industrial planning apparatus,” suffers from similar deficiencies, both

legally and factually. Opp’n 21 (citing § 1260H(d)(2)(A)).

       1. As for its legal analysis, Defendants embrace a broad (and new) “totality of means”

standard that deems any assistance provided “in accordance with” China’s “military-civil fusion”

“goals” and “policies,” Opp’n 23-24, to be assistance “initiated under the Chinese military

industrial planning apparatus,” id. (quoting § 1260H(d)(2)(A)). Defendants now rely on the same

uncited article about dual-use products with “capabilities” that “inherently ha[ve] military

applications.” Opp’n 23-24 (quoting NDAR1714). In practice, that construction effectively

covers Chinese government subsidies of any kind to any company—as shown by the Department’s

chain of unconnected inferences, which does not even purport to link Hesai with any military-

related assistance. See Mot. 36.

       Defendants compound that error by stripping away this subprovision’s unique requirement

that an entity “know[]” that the assistance it receives was “initiated under the Chinese military

industrial planning apparatus.” § 1260H(d)(2)(A). Although Defendants try to cabin Rehaif’s

discussion of the same “knowingly” qualifier to that case’s “criminal context,” Opp’n 22, the

conclusion that “Congress intended to require the Government to establish that the defendant knew

he violated the material elements” was “a matter of ordinary English grammar,” Rehaif v. United

States, 588 U.S. 225, 230-231 (2019); see also, e.g., Glen v. Trip Advisor LLC, 529 F. Supp. 3d

316, 331-332 & n.16 (D. Del. 2021) (quoting Rehaif in civil context, alongside other non-criminal

cases, in explaining that “the Court finds persuasive the analyses of numerous other courts that

have interpreted statutes having specific knowledge requirements as requiring knowledge of all

the elements listed in the statute” (footnote omitted)). The “presumption in favor of scienter” that

Defendants say is “inapplicable here” (Opp’n 22) was an additional reason the Supreme Court



                                                27
      Case 1:24-cv-01381-PLF         Document 49       Filed 01/29/25      Page 35 of 44




imposed the knowledge requirement, “[b]eyond the text” that Section 1260H(d)(2)(A) parallels.

Rehaif, 588 U.S. at 231.

       Defendants also fail to justify the arbitrary line they draw about what an entity must

“know.” The government agrees that the entity must know that it received assistance, that the

assistance was from “the Chinese government or the Chinese Community Party,” and that the

assistance was “science and technology-related assistance.” Opp’n 22. But Defendants claim that

it “is of no moment whether such an entity is aware or not whether the assistance it received had

been initiated under China’s military industrial planning apparatus.” Id. Arbitrarily cutting off

application of the “knowingly” qualifier at that point—in the middle of the sentence, with no

intervening punctuation—makes no sense. If anything, the relevant “context”—i.e., the authority

conferred on the Department to designate Chinese military companies—“strongly suggests that

Congress focused” more on those entities that know the assistance they receive is actually

connected to the Chinese “military industrial planning apparatus,” rather than on those that know

the assistance was merely “science and technology-related.” Id.

       2. Defendants’ brief confirms that each of the Department’s three sets of factual findings

is also deficient. First, Defendants bury in a footnote their concession that the Department

exaggerated by nearly five times the amount of subsidies the record actually reflects. Opp’n 23

n.10. Defendants do not show that Hesai is still “receiving” any of these years-old subsidies.

§ 1260H(d)(2)(A); see ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE

INTERPRETATION OF LEGAL TEXTS 140 (2012) (“Words are to be given the meaning that proper

grammar and usage would assign them.”). And rather than actually link any of the assistance Hesai

received to China’s military industrial planning apparatus, the Department merely invokes the

same tired reasoning about the dual-use nature of LiDAR technology generally. Opp’n 23-24.



                                               28
      Case 1:24-cv-01381-PLF            Document 49       Filed 01/29/25      Page 36 of 44




        Second, Defendants never address that the projects the Department cites ended years ago,

and never connect those projects with any kind of military industrial planning at all. NDAR11,

12. Defendants’ assertions that the NDRC and MST were “assisting” or “sponsoring” Hesai’s

projects (Opp’n 23-24) appear nowhere in the Amended Designation—perhaps because Hesai’s

prospectus indicates only that the projects were subject to those ministries’ regulatory jurisdictions

(a fact that Defendants do not dispute). NDAR1051; see Mot. 37. And although Defendants spend

pages trying to tie the NDRC and MST to military matters, Opp’n 24-26, Defendants do not contest

that these ministries’ broad regulatory jurisdictions extend over many non-military matters, see

Mot. 37-38. Nothing in the record suggests that Hesai’s (wholly commercial) projects relate to

the former rather than to the latter.

        Third, the standard that Defendants apply to Hesai’s 2023 SEC Form F-1 disclosure—i.e.,

that it supports a finding that Hesai is affiliated with the MIIT because it shows a “substantial

likelihood” the Chinese government “will *** provide” assistance, Opp’n 26 (emphases added)—

cannot be squared with the statutory language requiring actual “knowing[] recei[pt]” of qualifying

assistance, § 1260H(d)(2)(A); cf. Luokung Tech. Corp., 538 F. Supp. 3d at 189 (“‘potential

affiliation’ is not the correct standard”). That reading is also at odds with the Department’s own

cited evidence. That SEC disclosure specifically classifies China’s oversight as an operational

“risk” rather than the type of “benefit” that Defendants claim. NDAR118. And Defendants’

finding once again contradicts sworn evidence that Defendants never address. See Mot. 38-39.

        C.      The Department’s Finding That Hesai Resides In Or Is Affiliated With A
                Military-Civil Fusion Enterprise Zone Is Unlawful

        Defendants belatedly purport to supply the definition of the term “military-civil fusion

enterprise zone” that is missing from the Amended Designation itself: any “section of territory

established by the Chinese government for the purpose of advancing its policy of military-civil


                                                 29
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25      Page 37 of 44




fusion through economic activity.” Opp’n 27. It is hard to believe that Congress intended that

term to encompass whatever areas any local Chinese government office or official happened to

promote using the phrase “military-civil fusion.” Yet that is exactly what the Department relies

on—2022 and 2019 announcements by a “District Bureau” and an “Industrial Alliance”

mentioning “military civil fusion” goals. Such statements hardly show that the decades-old

Chongqing Economic Development Zone and Jiading Industrial Zone (let alone the entirety of

them) were “established” to promote China’s military-civil fusion agenda.19

       More importantly, the government does not dispute that at least a substantial bulk—if not

the vast majority—of these sprawling “economic” and “industrial” zones has nothing to do with

military-civil fusion. E.g., Opp’n 27-28 (acknowledging that military-civil integration is limited

to a “newly-established industrial park in Jiading Industrial Zone” (emphasis added)). All of

Arlington County is not a “military-civil fusion” zone just because the Department is located there.

       Proving the point, Defendants acknowledge that many international consumer-facing

companies, including Volvo and Amazon Web Services, reside in these zones.              Opp’n 30.

Defendants just say that (somehow) they do not actually have a “presence” there, ostensibly

“because the national security risk associated with a company that is not developing, producing,

or supplying military or dual-use products does not rise to the level of a company (such as Hesai)”

that supposedly does. Id. But as a factual matter, Defendants cannot explain (as noted, supra, pp.

10-12) why Hesai’s products are any more “dual use” than those companies’ “autonomous


       19
           See, e.g., Chongqing Municipal People’s Government, Introduction of Chongqing
Economic        and     Technological     Development     Zone    (Sept.     12,    2024),
https://www.cq.gov.cn/zt/yhyshj/zsyz/zqcyyq/naq/202409/t20240912_13623119.html
(Chongqing Economic and Technological Development Zone was established in 1993); Industrial
zone propels Jiading’s innovative development, Official English Website of Jiading District,
Shanghai (Jan. 6, 2021), http://english.jiading.gov.cn/2021-01/06/c_709590.htm (Jiading
Industrial Zone was established in 1992).

                                                30
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25      Page 38 of 44




vehicles” and other products. And as a legal matter, the Department’s justification is totally non-

responsive.   Subsection 1260H(d)(2)(E)’s applicability has nothing to do with whether the

company’s products are “dual use.” Nor does that provision carve out exemptions for companies

that are located in military enterprise zones but do not “produce military supplies or products that

have a dual use.” Opp’n 30. The absurd result that potentially thousands of international

consumer-facing companies such as Amazon Web Services, Volvo, Qualcomm, Autoliv, and

Continental qualify as “military-civil fusion contributors” under Defendants’ view confirms that

Defendants’ statutory construction or factual conclusions (or both) are wrong.

       D.      The Department’s Finding That Hesai Advertises On Military Equipment
               Procurement Platforms Is Unlawful

       The Department no longer appears to defend its finding that Hesai “advertises” on a

military equipment platform, as Section 1260H(d)(2)(G) requires. Instead, Defendants’ brief (like

the Amended Designation) mainly uses the passive voice—e.g., that “several Hesai products are

advertised on Beijing Huawei Technology’s website” and “Hesai’s products were listed and

advertised.” Opp’n 30-32 (emphasis added). But that is not what the statute says.

       Essentially conceding the point, Defendants claim that it would have been “practically

infeasible” for the Department to confirm whether “Hesai itself” advertised on the website. Opp’n

32. That is a startling thing for a U.S. government agency to say. It is the Department’s job to

make accurate factual findings, in compliance with statutory criteria, and based on the latest

information available. See, e.g., District Hosp. Partners, L.P. v. Burwell, 786 F.3d 46, 56-59 (D.C.

Cir. 2015) (explaining that “agencies do not have free rein to use inaccurate data”); City of New

Orleans v. SEC, 969 F.2d 1163, 1167 (D.C. Cir. 1992) (“[A]n agency’s reliance on a report or

study without ascertaining the accuracy of the data contained in the study or the methodology used

to collect the data is arbitrary.” (internal quotation marks omitted)). That is especially important


                                                31
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25     Page 39 of 44




in the context of a U.S. government blacklist, where the government wields enormous power to

damage the reputation and business interests of global companies. If it “simply was not known to

the Deputy Secretary of Defense at the time she rendered her decision” (Opp’n 32) whether Hesai

advertised its products on military equipment procurement platforms, the Department simply

should not have made that finding.

       The Department’s casual approach is even more troubling because, months before the re-

designation, Hesai repeatedly explained to the Department (under oath) that the company does not

sell its equipment for military purposes either “directly or indirectly”—and it could and would not

do so because “Hesai’s technology has never been designed for, evaluated for, or validated to

military specifications.” NDAR375; NDAR390; NDAR1705-06. Hesai also explained why it did

not meet any of the statutory criteria. NDAR378-381; NDAR390. Had the Department simply

asked Hesai—which had repeatedly requested an opportunity for meaningful dialogue to clarify

the agency’s misunderstandings before it re-designated Hesai, see, e.g., NDAR371; NDAR1702—

it could have easily avoided the mistake. The Department never explains why doing so was

“practically infeasible.”20

IV.    THE DEPARTMENT FAILED TO PROVIDE HESAI BASIC DUE PROCESS

       Defendants effectively concede that the Department’s redesignation process failed to

afford Hesai “the procedural safeguards required by [D.C. Circuit] precedent,” including notice

“of the unclassified material” upon which the agency “proposed to rely” and “the opportunity to



       20
           Defendants also say “Beijing Huawei Technology does not appear to be a third-party
reseller platform,” Opp’n 32—but that seems to be exactly what it is. As Beijing Huawei’s own
public statement suggests, it listed Hesai’s “relevant products, materials and promotion” on its
website despite Hesai never authorizing it to do so. See ECF No. 42-1, Exhibit D. Defendants’
characterization of that clarification statement as “self-serving” (Opp’n 32) is difficult to
understand: Beijing Huawei (not Hesai) issued the statement, and its commercial reputation is
reason enough for it to make truthful public statements.

                                                32
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25     Page 40 of 44




present, at least in written form, such evidence as it may be able to produce to rebut the

administrative record or otherwise negate the proposition that” it is a Chinese military company.

People’s Mojahedin Org. of Iran (“PMOI”) v. U.S. Dep’t of State, 613 F.3d 220, 227 (D.C. Cir.

2010) (alterations omitted) (emphasis added). Defendants weakly argue that if the Department

had provided constitutional process, Hesai might have “alter[ed] [its] corporate structure,

change[d] [its] name[], remove[d] evidence of [its] affiliation with China from the public record,

or otherwise obfuscate[d] [its] identit[y] to avoid being placed on the List.” Opp’n 50. That makes

no sense: Hesai is publicly traded on NASDAQ with “open and transparent” financials and

leadership that are subject to close investor scrutiny and corporate-governance oversight.

NDAR372. And, of course, Hesai initiated this litigation well before the re-listing. Hesai could

not simply have changed its name (or taken even more drastic steps to alter or hide its identity)

had the Department given it a bare “[o]pportunity to rebut the unclassified portion of the record

the [agency] was compiling.” PMOI, 613 F.3d at 227.

       That is why Defendants devote the bulk of their due-process defense to arguing that Hesai’s

claim is “unripe” or otherwise not “cognizable.” Opp’n 47-49. But as Defendants acknowledge,

an agency action that “has imposed some stigma” and “has worked some change in *** status

under law” triggers due process protections. Opp’n 49 (quoting Taylor v. Resolution Tr. Corp.,

56 F.3d 1497, 1506 (D.C. Cir.), amended on reh’g, 66 F.3d 1226 (D.C. Cir. 1995)). Defendants

concede that Hesai has suffered reputational harm because of the re-listing. Id. And the

redesignation of Hesai unmistakably effectuated a change in its legal status. Hesai’s designation

restricts the company from presently accessing grants, loans, contracts, and other benefits, as

Defendants themselves point out. Id. at 48 n.20 (citing 42 U.S.C. §§ 18912, 19235). That change

in status took effect immediately when the Chips Act was enacted in 2022. Other restrictions also



                                                33
      Case 1:24-cv-01381-PLF           Document 49        Filed 01/29/25      Page 41 of 44




apply today. See, e.g., Further Consolidated Appropriations Act of 2024, Pub. L. No. 118-47,

§ 536, 138 Stat. 460, 622 (“No Federal funds made available to the Department of Homeland

Security may be used to enter into a procurement contract, memorandum of understanding, or

cooperative agreement with, or make a grant to, or provide a loan or guarantee to, any entity

identified under section 1260H of the William M. (Mac) Thornberry National Defense

Authorization Act for Fiscal Year 2021 (Public Law 116-283) or any subsidiary of such entity.”).

And Defendants acknowledge that, because of its section 1260H listing, Hesai is restricted from

bidding on the Department’s contracts beginning next year. See Pub. L. No. 118-31, § 805, 137

Stat. 136, 315 (2023).

       None of those restrictions is “contingent” on anything. Opp’n 47 (citation omitted).

Hesai’s change in legal status already happened at the time of Hesai’s redesignation—both the

present restrictions and those that will go into legal effect next year. See Monsanto Co. v. Geertson

Seed Farms, 561 U.S. 139, 149 (2010) (requiring that “injury be concrete, particularized, and

actual or imminent”). Moreover, the issues are fit for resolution now, and Hesai will suffer serious

hardship if it is forced to wait longer to receive the process it is due. See generally Abbott Lab’s

v. Gardner, 387 U.S. 136, 148-49 (1967).

       All of this confirms that—beyond the undisputed facts that the 1260H redesignation has

impaired Hesai’s ability to raise capital, hampered its ability to conduct business in the United

States (including U.S.-incorporated Plaintiff Hesai Inc.), and severely damaged its global

reputation—Hesai has in fact “suffer[ed] a[] change in status under law.” Opp’n 49. Under

Defendants’ own authority and arguments, Hesai was thus both harmed in its reputation and

deprived of a constitutionally protected liberty interest. Accordingly, the Court should not only

vacate Hesai’s listing, but order that any future redesignation attempts be accompanied by the due



                                                 34
      Case 1:24-cv-01381-PLF          Document 49        Filed 01/29/25      Page 42 of 44




process guaranteed by this Court’s precedent. See PMOI, 613 F.3d at 227-228; National Council

of Resistance of Iran v. Department of State, 251 F.3d 192, 208-209 (D.C. Cir. 2001).

V.     THE COURT SHOULD SET ASIDE THE DEPARTMENT’S UNLAWFUL
       DECISION AND VACATE HESAI’S DESIGNATION

       “When an agency’s action is unlawful, ‘vacatur is the normal remedy.’” Bridgeport Hosp.

v. Becerra, 108 F.4th 882, 890 (D.C. Cir. 2024) (quoting Allina Health Servs. v. Sebelius, 746 F.3d

1102, 1110 (D.C. Cir. 2014)). “That’s because Congress directed [courts] to ‘hold unlawful and

set aside’” such action. Id.; see 5 U.S.C. § 706(2). “[T]o ‘set aside’ a rule is to vacate it.”

Bridgeport Hosp., 108 F.4th at 890 (quoting Corner Post, Inc. v. Board of Govs., 603 U.S. 799,

830 (2024) (Kavanaugh, J., concurring) (alteration in original)); see Corner Post, Inc., 603 U.S. at

830 (Kavanaugh, J., concurring) (“The APA prescribes the same ‘set aside’ remedy for all

categories of ‘agency action,’ including agency adjudicative orders[.]”). Thus, if the Court finds

that Hesai’s designation as a Chinese military company exceeds the Department’s authority under

Section 1260H, is arbitrary and capricious, is unsupported by substantial evidence, or deprived

Hesai of due process, the designation should be held unlawful and vacated.

       Defendants largely do not dispute that conclusion, with limited exceptions: they argue that

“remand without vacatur would be the appropriate remedy” only “if the Court were to conclude

that DoD had failed to consider Hesai’s submissions” or “failed to provide an adequate explanation

for its actions.” Opp’n 46, 39 n.17. But even with respect to those errors, Defendants are not

entitled to such an “exceptional remedy.” Bridgeport Hosp., 108 F.4th at 890 (citation omitted);

see, e.g., New Life Evangelistic Ctr., Inc., 672 F.Supp.2d at 73-74 (vacating agency decision

because it “failed to address contradictory evidence submitted by [plaintiff]”); Dillmon, 588 F.3d

at 1092 (vacating agency decision after rejecting that agency’s “substantial evidence argument”

could justify its “failure to address” underlying issue). While Defendants seek to minimize the


                                                35
       Case 1:24-cv-01381-PLF           Document 49       Filed 01/29/25    Page 43 of 44




Department’s failures, the D.C. Circuit has explained that “[w]hen an agency bypasses a

fundamental procedural step,” courts considering remand-without-vacatur must analyze “not

whether the ultimate action could be justified, but whether the agency could, with further

explanation, justify its decision to skip that procedural step.” City of Port Isabel v. FERC, 111

F.4th 1198, 1218 (D.C. Cir. 2024). The Department cannot meet that standard: despite the

ongoing litigation, political pressure, and other incentives it had to get its Amended Designation

right, the Department “has yet again come up with insufficient support” for its decision. Id.

           Nor will the Department suffer any cognizable harm from vacatur of Hesai’s designation.

Defendants cite vague “national security concerns” without identifying any concrete disruption,

let alone actual harm, that would be posed by Hesai’s particular removal from the list. Opp’n 47.

The Court should not permit the Department to keep moving the target while Hesai remains

blacklisted.

                                          CONCLUSION

           The Court should grant Hesai summary judgment, deny Defendants’ cross-motion, vacate

Defendants’ designation of Hesai as a Chinese military company, order Defendants to remove

Hesai from the 1260H List, and order Defendants to provide Hesai due process prior to any future

listing.




                                                 36
     Case 1:24-cv-01381-PLF   Document 49     Filed 01/29/25     Page 44 of 44




                                   Respectfully submitted,

                                      s/ James E. Tysse
Dated: January 29, 2025            James E. Tysse
                                     D.C. Bar No. 978722
                                   Caroline L. Wolverton
                                     D.C. Bar No. 496433
                                   Lide E. Paterno
                                     D.C. Bar No. 166601
                                   AKIN GUMP STRAUSS HAUER & FELD LLP
                                   2001 K Street, N.W.
                                   Washington, D.C. 20006
                                   Telephone: (202) 887-4000
                                   Facsimile: (202) 887-4288
                                   jtysse@akingump.com


                                   Counsel to Plaintiffs Hesai Technology Co., Ltd.
                                   and Hesai Inc.




                                     37
